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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

                                             )
DONNA CURLING, et al.                        )
                                             )
Plaintiffs,                                  )
                                             ) CIVIL ACTION FILE NO.:
v.                                           ) 1:17-cv-2989-AT
                                             )
BRAD RAFFENSPERGER, et al.                   )
                                             )
Defendants.                                  )
                                             )
                                             )


                EIGHTH DECLARATION OF PHILIP B. STARK

         PHILIP B. STARK hereby declares as follows:

     1. This statement supplements my declarations of September 9, 2018; September

        30, 2018; October 22, 2019; December 16, 2019; August 23, 2020; August

        31, 2020; and September 13, 2020. I stand by everything in the previous

        declarations.

     2. Defendants’ expert Dr. Juan Gilbert makes a number of false or misleading

        claims about ballot-marking device (BMD) systems, voter verification of

        BMD printout, and hand-marked paper ballots in his declaration of July 16,

        2021 (the “July 2021 Gilbert Report”). I address some of them here.

     3. Dr. Gilbert claims that the 2018 National Academies report, Securing the

        Vote: Protecting American Democracy, does not distinguish between the
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   trustworthiness of ballot-marking device printout and that of hand-marked

   paper ballots. July 2021 Gilbert Report, at ¶7. That is false: see my declaration

   of 19 December 2019, at ¶24.

4. The July 2021 Gilbert Report repeats a “red herring” argument that the rate at

   which voters verify hand-marked paper ballots has not been studied well. July

   2021 Gilbert Report, at ¶8. That rate has no bearing on the trustworthiness of

   BMD printout. With hand-marked paper ballots, there is no possibility

   whatsoever that misconfiguration or malware will cause the voter’s pen to

   write the wrong selections on the ballot. In contrast, no matter how carefully

   a voter makes selections on a BMD, the BMD can print something else. With

   hand-marked paper ballots, the voter is responsible for the voter’s mistakes.

   With ballot-marking devices, the voter is responsible for catching and

   correcting the BMD’s mistakes and malfunctions. Hand-marked paper ballots

   are a record of what the voter did; BMD printout is a record of what the

   machine did. They are not comparable. BMDs make voters responsible for

   checking whether key, vulnerable parts of the voting system are functioning

   correctly. Hand-marked paper ballots do not.

5. Paragraph 12 of the July 2021 Gilbert Report appears to be pure speculation

   addressing a straw-person argument. Plaintiffs have not alleged that the 2020

   presidential election outcome in Georgia was altered by BMDs, which appears

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       to be what Dr. Gilbert is rebutting. Regardless, Dr. Gilbert does not cite any

       data on the number of spoiled ballots or voter complaints that BMDs

       misprinted votes in Georgia in November, 2020. To the best of my knowledge,

       there is no evidence about how many voters in Georgia requested a fresh

       chance to mark a BMD ballot in the November, 2020, election, nor of how

       many complained to poll workers that BMDs did not print their votes

       correctly. There might have been thousands of voters who found errors in the

       BMD printout and reported it. Dr. Gilbert has provided no basis for his claim

       that there were not. Moreover, as elaborated in my other declarations, the

       fundamental design flaw of all ballot-marking devices is that even if a voter

       catches the ballot-marking device misprinting selections, there is no way the

       voter can prove it to anyone else. Conversely, if a voter complains to a poll

       worker or election official that a ballot-marking device changed the voter’s

       selections, there is no way for the poll worker or election official to tell

       whether the voter is telling the truth, mistaken, or lying.

    6. Since my last declaration, A.A. Haynes and M.V. Hood III published a report

       entitled “Georgia Voter Verification Study,” which I understand was

       sponsored by the Georgia Secretary of State’s office.1 The study examined


1
 https://s3.documentcloud.org/documents/21017815/gvvs-report-11.pdf, last visited 31 July
2021.

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       how long voters reviewed their BMD printouts in November, 2020, in 31

       randomly selected precincts in six Georgia counties: Barrow, Clarke, Jackson,

       Madison, Oconee, and Oglethorpe. The study, dated January 22, 2021, was

       not published; its existence was discovered through a Georgia Open Records

       Act request by The Atlanta Journal Constitution.2 Dr. Gilbert does not

       mention this study.

    7. The results of the Haynes and Hood (2021) study are summarized in the table

       below. Less than 19 percent of voters looked at the BMD printout for 5

       seconds or more.

        Duration of glance                           Percentage of voters

        did not look at all                          20.0 percent

        less than one second                         31.3 percent

        one to five seconds                          29.9 percent

        five seconds or more                         18.8    percent



    8. Apparently the study was intended to show that voters do review BMD

       printout, because the maximum observation time was 5 seconds, which the


2
 Under half of Georgia voters checked their paper ballots, study shows, Mark Kniesse, The Atlanta
Journal Constitution, 27 July 2021. https://www.ajc.com/politics/under-half-of-georgia-voters-
checked-their-paper-ballots-study-shows/6HSVHHFOBRBDPODRZXLIBTUS64/ last visited 2
August 2021.

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       authors characterize as a “long time.” Haynes and Hood (2021), at 2. Five

       seconds is not a “long time” to review a typical ballot in the 2020 general

       election in Georgia, as I shall explain.

    9. Studies of reading report rates of about 138 words per minute to 600 words

       per minute for college students, depending on the goal.3 For general tasks, a

       typical rate is 300 words per minute. For a task with a high cognitive burden—

       such as noticing whether a contest was omitted or added—rates are lower.

    10. I understand that throughout Georgia, 2020 General Election ballots contained

       many contests: there were five statewide contests, three statewide ballot

       questions, State House and State Senate races, and county and local issues.

       Attachment 1 contains images of exemplar ballots from seven Georgia

       counties and a summary of the contests in Madison County from November,

       2020. The ballots and counties were not selected at random, but I understand

       them to be representative, and they include the six counties in the Haynes &

       Hood (2021) study.

    11. If verifying selections in a contest requires reading at least four words (two

       for the contest name and two for the selection), at a rate of 138 to 300 words




3
 Carver, R.P., 1992. Reading Rate: Theory, Research, and Practical Implications, Journal of
Reading, 36, 84-95. https://www.jstor.org/stable/40016440. See Table 1 and pp. 87–89.


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       per minute, then it should take a voter 0.8 to 1.74 seconds to verify a single

       contest. This may well be an underestimate of the time required to review

       contest selections because it does not include the cognitive burden of checking

       whether a contest was added or omitted, among other things.

    12. To review 20 contests requires reading at least 80 words, about 16 seconds at

       300 words per minute or 35 seconds at 138 words per minute. That is merely

       to read 4 words per contest: it does not include any allowance for recalling

       one’s intended selections or consulting a sample ballot for reference.

    13. The exemplar ballots contain between 16 contests (in Clarke County) and 27

       contests (in Oconee County). Five seconds to review 27 contests is 0.185

       seconds per contest. But it is expected to take at least 0.8 seconds—more than

       four times that long—simply to read four words per contest.4

    14. The number of contests on the exemplar ballots is summarized in the table

       below, along with an estimate of the time it would take to read 4 words per

       contest at a rate of either 300 words per minute or 138 words per minute.




4
  I performed an experiment using myself as a subject: I timed myself counting the contests on
the exemplar Georgia BMD printouts in the Appendix, trying to count as quickly as possible.
Even though I was familiar with the format and had looked at many examples, it took an average
of more than 0.5 seconds per contest merely to count the contests—without attempting to read
the contest names or the selections.

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    County                Contests          Minimum          included in Haynes
                                          estimated time       & Hood (2021)
                                         required to read
                                           4 words per
                                        contest (seconds)
    Barrow                   21               17–37                  yes

    Clarke                   16              13–28                   yes

    Jackson                  24              19–42                   yes

    Madison                  23              18–40                   yes

    Oconee                   27              22–47                   yes

    Oglethorpe               19              15–33                   yes

    Dougherty                19              15–33                   no

    Fulton                   20              16–35                   no



15. I conclude that a voter who reads at the college level cannot reliably read and

   check every selection on the November, 2020, ballot from any of those

   counties in 5 seconds. Thus, the results reported in the Haynes and Hood

   (2021) study do not provide evidence that any voter examined the BMD

   printout carefully enough to detect an error.

16. But even if Georgia voters spent longer reviewing the BMD printout, it is not

   clear whether they would notice errors introduced by BMD malfunctions or

   malware. The two studies that have investigated the question, cited in my


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   declaration of 31 August 2020, suggest otherwise. During oral testimony in

   September, 2020, I explained that even if voters verified BMD printout at the

   highest rate studies have attained via interventions, that would not suffice to

   catch and correct wrong outcomes in contests with small margins. The rate of

   verification (and corrective action) needs to be essentially 100 percent.

   Increasing the rate of verification from less than 7 percent to 90 percent would

   not be enough.

17. But all this analysis is irrelevant in Georgia. That is because in Georgia,

   tabulation and recounts of BMD printout are based on QR codes, not on the

   human-readable text. No matter how well voters verify the printed text, they

   cannot check whether the QR code correctly reflects their selections. Hence,

   even if all voters reviewed the human-readable selections on BMD printouts

   perfectly and requested another opportunity to mark a ballot whenever they

   found discrepancies, Georgia’s election system would be completely

   vulnerable to attacks or errors that alter the QR code but not the human-

   readable text. To detect that the selections in the QR codes differ from the

   selections in the human-readable text would require properly conducted audits

   of every contest in every election. A risk-limiting audit of one contest every

   two years is not enough, no matter how rigorous that audit is.




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   18. The July 2021 Gilbert Report claims, “[s]imply put, BMD elections systems

      are no more insecure than HMPB systems and, in fact, offer many advantages

      that make such systems more secure.” July 2021 Gilbert Report, at 7. This is

      nonsense: BMD systems have the same failure modes as hand-marked paper

      ballots (e.g., poor/confusing ballot layout; presentation attacks that offer

      voters the wrong contests or options; loss, addition, alteration, or substitution

      of voted ballots; hacking or misconfiguration of the scanners or tabulators;

      erroneous reporting of aggregate results), and in addition other failure modes

      that cannot be detected or corrected reliably in practice (e.g., printing

      selections that differ from what the voter saw on the screen). Voting using a

      BMD amounts to marking a ballot with a hackable pen. And in Georgia, where

      tabulation and recounts are based on the QR codes, voters cannot even tell

      whether the “pen” wrote something other than they intended.

   19. I anticipate supplementing my report when the Election Project files and ballot

      images for the November election become available from key counties, such

      as Fulton, Gwinnett, and DeKalb, to cross check key claims of the November,

      2020, “hand count audit.”



I declare under penalty of perjury, in accordance with 28 U.S.C. § 1746, that the

foregoing is true and correct.

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Executed on this date, 2 August 2021.



                               _______________________________

                                        Philip B. Stark




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